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                         UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA

 NAUTILUS INSURANCE COMPANY,                           ) Case No.: 2:22-cv-1307-RMG
                                                       )
                                         Petitioner,   )    DEFENDANT PALMETTO
                                                       )      STATE BANK’S REPLY
      vs.                                              )    TO NAUTILUS RESPONSE
                                                       ) TO PALMETTO STATE BANK’S
                                                       )  MOTION TO FILE PORTIONS
                                                       )  OF MOTION FOR SUMMARY
                                                       )    JUDGMENT UNDER SEAL
 RICHARD ALEXANDER MURDAUGH, SR.,                      )
 CORY FLEMING, MOSS & KUHN, P.A., CHAD                 )
 WESTENDORF, PALMETTO STATE BANK,                      )
 and THE UNITED STATES OF AMERICA,                     )
                                                       )
                                      Respondents.     )


       On July 21, 2023, the Defendant Palmetto State Bank (“PSB”) filed a Motion for Summary

Judgment with Incorporated Memorandum (See ECF Entry No. 131) and a Motion to File Portions

of Motion for Summary Judgment Under Seal. (See ECF Entry No. 130). Exhibit 3 to the Motion

for Summary Judgment consists of two documents that were marked “CONFIDENTIAL” prior to

being produced to PSB, so out of an abundance of caution PSB filed the Motion to Seal. PSB filed

redacted versions of the Motion for Summary Judgment and Exhibit 3. Unredacted versions of

the Motion and Exhibit 3 were submitted directly to chambers for in camera review.

       On August 4, 2023, Nautilus Insurance Company (“Nautilus”) filed its Response to the

Motion to Seal. (See ECF Entry. No. 141). Nautilus attached redacted versions of the documents

comprising Exhibit 3 to the Motion for Summary Judgment. Nautilus asserts that this version of

Exhibit 3 is acceptable and the entire documents do not need to be filed under seal. It further

seems, then, that Nautilus consents to the filing of an unredacted version of the Motion for

Summary Judgment.
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       While PSB wishes to reserve its rights regarding the larger issue of redaction of future

documents and whether privilege does or does not require protection of those documents, at this

point in time PSB has no objection to the redacted version of Exhibit 3 agreed to by Nautilus being

substituted and maintained as Exhibit 3 to the Motion for Summary Judgment.

       With that reservation, PSB proposes this Court enter an order indicating resolution of the

Motion to File Portions of Motion for Summary Judgment Under Seal, ECF Entry No. 130, as

follows:

       1. PSB shall file an unredacted version of PSB’s Motion for Summary Judgment with

           Incorporated Memorandum with the Clerk of Court. This version shall be maintained

           in the public docket of this case.

       2. PSB shall file Exhibit 3 as redacted by Nautilus with the Clerk of Court. This version

           shall be maintained in the public docket of this case.

                                                Respectfully submitted,

                                                /s/ Thomas P. Gressette, Jr.
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                                                ATTORNEYS FOR PALMETTO STATE BANK

August 11, 2023
Charleston, South Carolina

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